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                               UNITED STATES DISTRICT COURT
                                    DISTRICT OF MAINE

   PHUONG LE,                                   )
                                                )
                         Plaintiff              )
          v.                                    )      Civil No. 07-182-P-S
                                                )      Crim. No. 04-136-P-S
   UNITED STATES OF AMERICA,                    )
                                                )
                         Defendant              )


                          ORDER ON 28 U.S.C. § 2255 MOTION

          Phuong Le has lodged a 28 U.S.C. § 2255 attack on his thirty-nine month

   sentence imposed after he pled guilty to conspiring to distribute crack cocaine. Le argues

   that his counsel, while successful in obtaining some reductions in his sentence, neglected

   to press other grounds for reduction.

          I was the sentencing judge in this matter. All of the significant facts are familiar

   to me. The sentence I imposed on Mr. Le would not have been affected by any of the

   arguments raised by Mr. Le in his Petition. I took into account all the circumstances of

   the offense and after considering all the arguments set forth by Mr. Le in his § 2255

   Petition, I would have imposed the same sentence. The Petition is DENIED



                                                       _/s/ George Z. Singal          __
                                                       Chief United States District Judge

   Dated this 15th day of November, 2007.
